                            UNITED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                   CHARLOTTE DIVISION


UNITED STATES OF AMERICA

      V.                                          CASE NUMBER: 3:07CR61-05

LORENZO LEE JOHNSON


       THIS MATTER is before the Court on an Order of Remand, filed 01/29/2014,

      from the Fourth Circuit Court of Appeals for re-sentencing.

       NOW, THEREFORE, IT IS ORDERED that:

       The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

       transport and produce the body of LORENZO LEE JOHNSON (USM# 21226-058), for re-

       sentencing before the honorable Frank D. Whitney,        in the Western District of North

       Carolina, Charlotte, North Carolina not later than January 16, 2015, and upon completion

       of the re-sentencing hearing, Defendant is to be returned to the custody of the Bureau

      of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States Probation Office.

      IT IS SO ORDERED.


                                          Signed: December 10, 2014




      Case 3:07-cr-00061-FDW-DCK          Document 690         Filed 12/11/14     Page 1 of 1
